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                                                                                          United States District Court
                                                                                            Southern District of Texas

                                                                                               ENTERED
                        IN THE UNITED STATES DISTRICT COURT                                 February 21, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

 GLYNDA MOORE ALLDREDGE,                             §
                                                     §
      Plaintiff,                                     §
                                                     §
 v.                                                  §         Civil Action No. 4:22-cv-03745
                                                     §
 REVERSE MORTGAGE FUNDING,                           §
 LLC,                                                §
                                                     §
      Defendant.                                     §

                                     ORDER OF DISMISSAL

        Came on for consideration the Joint Stipulation of Dismissal with Prejudice filed by

Plaintiff Glynda Moore Alldredge (“Plaintiff”) and Defendant Reverse Mortgage Funding, LLC

(“Defendant”). The Court, having considered the Stipulation, determines that it should be granted.

It is, therefore,

        ORDERED, ADJUDGED, and DECREED that all of Plaintiff’s claims she has asserted

in this cause against Defendant are dismissed with prejudice. It is further,

        ORDERED, ADJUDGED, and DECREED that all relief not granted herein is denied.

This order constitutes a final judgment in that it finally disposes of all parties and all claims in this

cause. Defendant may charge its costs and attorney’s fees to the loan at issue in this cause.



        SIGNED this 21st day of February, 2023 at Houston,
                                                       on, Texas
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ORDER OF DISMISSAL                                                                             Page 1 of 1
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